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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

UNITED STATES OF AMERICA

v.                                             Case No. 3:23-cr-71/TKW

MARCUS D. SPEARS
_____________________________/

                    ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, the plea of guilty of the

Defendant, MARCUS D. SPEARS, to Counts One, Two, and Three of the

indictment is hereby ACCEPTED. All parties shall appear before this Court for

sentencing as directed.

      DONE and ORDERED this 2nd day of November, 2023.




                                    __________________________________
                                    T. KENT WETHERELL, II
                                    UNITED STATES DISTRICT JUDGE
